IN THE COURT OF COMMON

PLEAS OF WESTMORELAND COUNTY, PENNSYLVANIA
CHRISTINE BIROS, Case No. 17 CJ 04886
Plaintiff,
vs. NOTICE OF
APPEAL
U LOCK INC.,
Defendant.
Filed by:

rr MILES MYCKA

Representing himself:

dale Miles Mycka

5148 Peach St #401

Erie, PA 16509

My phone 814-283-4820

My email mmm@thunderland.net

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IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PENNSYLVANIA

CHRISTINE BIROS, Case No. 17 CJ 04886

Plaintiff,
VS.
U LOCK INC., a Pennsylvania corp.,

Defendant.

I appeal to the Superior Court of Pennsylvania from the order
entered on the docket on May 17, 2022 directing a writ of possession
| to Christine Biros without giving the tenants and bailors any notice.
This order is on the docket sheet I attached to this.
Respectfully submitted,

pie be

. Miles Mycka
wr 9 Peach St #401
Erie, PA 16509
My phone 814-283-4820
My email na d.

 

APPELLANT
1L7CT04866 CHRISTINE BIROS /INDIVID VS. U LOCK INC Jan/24/2018

LIS PENDENS NEW FILE ACTIVEHARRY F SMAIL
Parties
Party Type Name Address
DEFENDANT ATTY DENNIS D DEL COTTO4345 OLD WILLIAM PENN HWY , MURRYSVILLE , PA,
15668
DEFENDANT ATTY J ALLEN ROTH805 $ ALEXANDRIA STREET , LATROBE , PA, 15650
DEFENDANT ATTY JOHN A TUMOLO 437 GRANT STREET , PITTSBURGH , PA, 15219
DEFENDANT DENISE SCHUR /EXEC8700 CLEVELAND ROAD, CRESTON, OH, 44217, USA
DEFENDANT ALEX SCHUR /ESTATE
DEFENDANT HENRY L MOORE /CO EXEC 310 KEYSTONE COMMONS 35 WEST PITTSBURGH STREET,
GREENSBURG, PA, 15601, USA
PLAINTIFF ATTY WILLIAM E OTTO PO BOX 701 , MURRYSVILLE , PA, 15668
PLAINTIFF CHRISTINE BIROS /INDIVID435 MILLERS LANE, PLUM, 15239
DEFENDANT SUSAN STANO /CO EXEC 31856 LAKE DRIVE, AVON LAKE, OHIO, 44012, USA
DEFENDANT NICHOLAS SCHUR /ESTATE
DEFENDANT KATHLEEN 8S WALTER /EXEC 3 RIDGE COURT, SARATOGA SPRINGS, NY, 12866, USA
DEFENDANT MICHAEL SCHUR /ESTATE
DEFENDANT CYNTHIA SARRIS /ADMIN 14249 HILAND PLACE, IRWIN, PA, 15642, USA
DEFENDANT ANN SARRIS /ESTATE
DEFENDANT U LOCK INC 14140 ROUTE 30, NORTH HUNTINGDON, PA, 15642, USA
INTERESTED FTY SHANNI SNDER14390 US RT 30, NORTH HUNTINGDON, PA, 15642, USA
Events
Action Date Action DescriptionAction Name View Document
May/24/2022 ORDER APPELLATE RULE 19256 ORDER MAY 23, 2022 APPELLATE RULE 1925B

NOTICE GIVEN RULE N236

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*NOTICE APPEAL TO THE SUPERIOR COURTOF THE ORDER DATED JANUARY 24 2022
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Jan/12/2018 *PRAECIPE INDEX LIS PENDENS *PRAECIPE INDEX LIS PENDENS
CERTIFICATE OF SERVICE
I mailed a copy of this notice of appeal to:

Bill E. Otto,

the attorney for Christine Biros
Box 701

Murrysville PA 15668

Allen Roth,

the attorney for U Lock storage
805 South Alexander Street
Latrobe PA 15650

Judge Harry Smail

judge of the court

2? N Main Street, Courtroom 2
Greensburg PA 15601

Prothonotary
2 N Main Street
Greensburg PA 15601

on June 1, 2022.

Macs Wl

(les Miles Mycka

 

 
